                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
               v.                             :       Case No. 21-CR-00440-CJN
                                              :
CASEY CUSICK,                                 :
                                              :
                Defendant.                    :


                           MOTION TO DISMISS INFORMATION

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, respectfully moves this Court for leave, pursuant to Federal Rule of

Criminal Procedure 48(a), to dismiss the instant case against Defendant Casey Cusick without

prejudice.

       As detailed in a prior filing (see D.E. 14), this case is related to United States v. James

Varnell Cusick Jr, No. 21-CR-00441-RDM and United States v. David John Lesperance, No. 21-

CR-00439-EGS. All three defendants are charged with the same four misdemeanor counts related

to their conduct at the United States Capitol Building on January 6, 2021. The defendants know

each other, traveled from Florida to the District of Columbia in advance of January 6, 2021, and

entered and exited the Capitol Building at roughly the same time, in roughly the same locations.

Given the mutually admissible evidence and overlapping primary criminal conduct alleged against

these three defendants, the government subsequently charged them with the same crimes alleged

in the instant case, but in a single superseding information. See United States v. Lesperance et al.,

No. 21-CR-575-EGS.
       Accordingly, given the superseding information, the government now moves to dismiss the

instant case without prejudice.



                                                     Respectfully submitted,

                                                     CHANNING D. PHILLIPS
                                                     ACTING UNITED STATES ATTORNEY
                                                     D.C. Bar No. 415793


                                                     By: ___________________________
                                                     ANNE P. MCNAMARA
                                                     Assistant United States Attorney
                                                     D.C. Bar No. 1006550
                                                     U.S. Attorney’s Office, Fraud Section
                                                     555 Fourth Street, N.W.
                                                     Washington, D.C. 20530
                                                     Telephone: (202) 809-3502
                                                     Email: Anne.McNamara2@usdoj.gov




                                  CERTIFICATE OF SERVICE

       I hereby certify that on September 27, 2021, I caused a copy of the foregoing notice to be

served on counsel of record via electronic filing.




                                                     By: ___________________________
                                                        ANNE P. MCNAMARA
                                                        Assistant United States Attorney




                                                 2
